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11
                       UNITED STATES DISTRICT COURT
12
                      CENTRAL DISTRICT OF CALIFORNIA
13
                                            Case No: 2:22-cv-04453-AB-MAR
14
      VPN.COM LLC,
                         Plaintiff,
15
                                            RESPONSE IN OPPOSITION TO
             vs.                            DEFENDANT DIKIAN’S
16
                                            EMERGENCY EX-PARTE
      GEORGE DIKIAN et al.                  APPLICATION FOR A TRO
17
                         Defendants.        [Declaration of Michael D. Cilento, Esq. and
18                                          exhibits submitted herewith]

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 1                                     Introduction

 2         Plaintiff VPN.COM LLC (“VPN”), through undersigned counsel,

 3   submits this Response in Opposition to Defendant Dikian’s emergency ex-parte

 4   application seeking a temporary restraining order preventing VPN from filing a

 5   first amended complaint to correctly identify and name Defendant “Dikian.”

 6   Defendant has waited nearly a year to bring this request to the Court, which

 7   belies the necessity for any emergency relief – VPN could have filed a motion

 8   to amend the complaint naming Dikian’s true identity at any point. The fact that

 9   VPN did not do so yet, for reasons explained below, does not create an

10   emergency warranting the grant of a temporary restraining order. Nor has

11   Defendant provided any good reason why he should be allowed to proceed in

12   this case anonymously or pseudonymously, nor demonstrated why this is an

13   unusual case warranting such relief.

14                                     Background

15         1.     VPN initiated this action after VPN was unambiguously defrauded

16   in connection with two domain name sale transactions.

17         2.     VPN sued “George Dikian,” because that was believed to be the

18   identity of the individual that committed the fraud.

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 1         3.     After more of VPN’s own, early investigation, it was suspected

 2   that “George Dikian” may in fact be a fake identity. VPN also discovered an

 3   individual that it believed could be the true identity of “George Dikian,” but

 4   VPN could not fully confirm this.

 5         4.     Defendant Dikian, and his counsel, for their part, refused to

 6   confirm, either formally or informally, the true identity of Defendant Dikian for

 7   nearly a year after the case commenced.

 8         5.     Only after several threats of a motion to compel, the first being via

 9   letter on February 3, 2023, see Exhibit A to the Cilento Dec. attached hereto,

10   and after more evidence came in that pointed to the true identity, did “George

11   Dikian” finally on May 8, 2023, disclose his true identity to VPN.

12         6.     Undersigned counsel also informed Dikian’s counsel several times

13   that if Dikian wished to attempt to proceed in the action anonymously, he

14   should file a formal motion with the Court. This was also stated as early as

15   February 3, 2023, in Exhibit A. Dikian never moved for a protective order.

16         7.     Even before Dikian would confirm his true identity, however, VPN

17   informed Dikian via email on April 26, 2023, that VPN would like to meet and

18   confer regarding a planned motion for leave to file an amended complaint in the

19   action to, inter alia, name the identity that VPN strongly believed was Dikian’s

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 1   true identity, and to add in certain other allegations, including that of a previous

 2   victim of Dikian. See Exhibit B.1

 3          8.      In this April 26 meet-and-confer email, VPN sent Dikian a

 4   redlined proposed amended complaint that VPN intended to file. See id. After

 5   receiving the proposed amended complaint, Dikian specifically asked VPN

 6   through email from counsel to hold off on filing the amended complaint until

 7   after the mediation scheduled for June 30, 2023, as it would make the chances

 8   of a successful mediation greatly increase. See Exhibit C.

 9          9.      VPN agreed to hold off on filing the motion to amend, and the

10   parties submitted a stipulation to extend the amended pleadings case deadline to

11   July 28, 2023, and other certain deadlines were extended, and the Court So

12   Ordered the stipulation on May 3, 2023. See ECF 45.

13          10.     Unfortunately, the parties could not settle at the mediation.

14   However, at Dikian’s explicit request at the mediation and through an email

15   from counsel for Dikian, the parties scheduled and held follow-up talks to see if

16   a resolution could be possible. See, e.g., ECF 48, Mediation Report (reporting

17   that follow-up talks were being scheduled).

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19   1
      VPN has redacted Dikian’s true identity in the Exhibits, in order to allow this Court to
     meaningfully rule on the current application.
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 1           11.   Unfortunately, those talks too were unsuccessful, and did not

 2   conclude until the last conversation between the parties via phone on July 14,

 3   2023.

 4           12.   During the time from the mediation through to the conclusion of

 5   the further talks (i.e., from June 30 – July 14), the parties, through counsel, had

 6   been negotiating a stipulation to extend case deadlines, including the time to

 7   hear a motion to amend pleadings, since VPN had again agreed to hold off on

 8   filing the motion to amend until the talks concluded.

 9           13.   On July 10, 2023, counsel had a formal meet and confer call on

10   several issues, including the need to stipulate to extend certain case deadlines,

11   including the deadline for motions to amend pleadings. Undersigned counsel

12   sent a memorialization email of this meet and confer call to Dikian’s counsel.

13   See Exhibit D.

14           14.   However, on the night of July 12, 2023, essentially a day before

15   the settlement talks fully broke down on July 14, Dikian’s counsel sent an email

16   withdrawing consent to extend the deadline for an amended pleadings hearing

17   date, and informed undersigned counsel that the time to confer on a motion to

18   amend pleadings is “long passed.” See Exhibit E.

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 1         15.    Accordingly, VPN’s counsel informed Dikian’s counsel that

 2   contrary to him thinking he could simply induce VPN into delaying the filing of

 3   its amended complaint, and then rug pull a stipulation and dupe VPN into not

 4   being able to properly name Dikian’s true identity, VPN would be moving by

 5   ex-parte application for leave to file an amended complaint. Naming Dikian’s

 6   true identity should not be controversial – as the real party in interest, and a

 7   party accused of using a fake identity to defraud multiple victims, it is normal

 8   and routine to sue Dikian by his real name.

 9         16.    In response to VPN informing Dikian that VPN planned to submit

10   such application this week, and that VPN would give Dikian exact notice

11   thereof, Dikian then submitted the current application for a TRO and for leave

12   to file a motion for a protective order to proceed anonymously or

13   pseudonymously.

14         17.    VPN opposes the belated ex-parte application for a TRO and

15   believes that the Court should not even entertain a motion for a protective order.

16                                       Argument

17         18.    Dikian is not entitled to proceed in this action anonymously or

18   pseudonymously.

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 1         19.    Dikian’s only two arguments to do so are that (i) Dikian has used a

 2   long-standing fake identity wrongfully to conduct business, violate ICANN

 3   rules, and defraud people, and (ii) Dikian has a few million dollars’ worth of

 4   “valuable assets.” Neither of these arguments warrants allowing Dikian to

 5   proceed anonymously.

 6         20.    As a preliminary matter, there is no urgency supporting the grant

 7   of a temporary restraining order. This case has been ongoing for over a year. If

 8   maintaining the secrecy of Dikian’s identity was truly an emergency, then

 9   Dikian should have moved for a protective order long ago. Counsel for VPN

10   encouraged Dikian to do just that, but Dikian chose not to take any steps

11   towards shielding his identity – until now.

12         21.    Additionally, the Ninth Circuit has made clear that use of a

13   pseudonym should only be permitted occasionally and in “unusual” cases.

14   United States v. Stoterau, 524 F.3d 988, 1012 (9th Cir. 2008) (“As a general

15   rule, the identity of the parties ... should not be concealed except in an unusual

16   case, where there is a need for the cloak of anonymity.”) (internal citation and

17   quotation marks omitted).

18         22.    Here, there is no reason for Dikian to remain pseudonymous. The

19   application states that Dikian has been “targeted by criminals,” but Dikian’s

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 1   presents no evidence of this, and other evidence points strongly to Dikian being

 2   the criminal with multiple victims. Dikian has not provided any police report,

 3   any complaint to an email service provider, any lawsuit, any contemporaneous

 4   steps taken to investigate the alleged criminality he is now claiming he has

 5   experienced. – nothing that could show he has actually been targeted by

 6   criminals at all, let alone to a point where it would require proceeding

 7   anonymously.

 8         23.    Nor has Dikian provided any evidence of potential future harm or

 9   retaliation. Severity of the potential threatened harm to the movant is one of the

10   most important factors in determining whether to allow a litigant to proceed

11   anonymously. See Doe v. Kamehameha Sch./Bernice Pauahi Bishop Est., 596

12   F.3d 1036, 1043 (9th Cir. 2010). Here, there is nothing to suggest any

13   threatened harm, let alone severe harm – and certainly no greater harm than any

14   other litigant accused of fraud.

15         24.    As to the “expert reports” that Dikian claims he will use to

16   somehow either exonerate him or show he’s been the target of criminality –

17   they will not show either. Suffice it to say for now that the expert reports Dikian

18   has produced in this action are deeply flawed in methodology, technique, and

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 1   substance, such that they are likely to be excluded by this Court on VPN’s

 2   planned Daubert motions.

 3         25.    In any event, there is no logical reason why the Court should

 4   consider evidence for likelihood of success on the merits of the underlying

 5   claims in determining whether a party should proceed anonymously, and the

 6   expert reports have nothing to do with future, threatened harm. In fact, as

 7   Dikian alleges now, he was targeted while he was using the fakie identity

 8   “George Dikian” not his real identity.

 9         26.    Dikian’s other argument – that he should be allowed to proceed

10   anonymously because he has “valuable assets” – is not something that the Court

11   should even entertain. If anyone who has “valuable assets” could proceed in

12   litigation anonymously, that would completely undermine the fairness of the

13   justice system.

14         27.    On the other hand, if Dikian were allowed to proceed

15   anonymously, VPN and the public would both be severely prejudiced. First,

16   VPN needs to name Defendant by his correct name in order for VPN to be able

17   to properly litigate the case, including by being able to secure a judgment

18   against the real identity of Dikian. “George Dikian” is a fake identity, and

19   securing a judgment against it is of no value.

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 1         28.    Second, the public has a right to know Dikian’s true identity. The

 2   allegations in the Complaint sound in fraud. Dikian has been using a fake

 3   identity, and has multiple, documented victims, in part because of the use of the

 4   fake identity. The public deserves to know who the actual person is behind this

 5   fake identity and behind these frauds. It will also help to prevent Dikian from

 6   being able to defraud others in the future, and help prevent others from falling

 7   victim to scams using the Dikian identity

 8         29.    Even under Dikian’s version of the case, Dikian’s defense boils

 9   down largely to an argument that he was grossly negligent in allowing his

10   fictitious identity be used to scam multiple victims out of hundreds of thousands

11   of dollars– even well after he was allegedly aware that such scams were being

12   perpetrated under his name. Even if that were true, which the evidence seriously

13   belies, the public is entitled to know Dikian’s real identity so that others can

14   decide – based on as much transparency as possible – whether and on what

15   terms to transact with ”Dikian.”

16   Conclusion

17         30.    VPN needs to amend its Complaint to properly name Dikian’s true

18   identity, as well as to add additional allegations gleaned from discovery,

19   including allegations regarding other victims of Dikian.

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 1         31.    Dikian is not entitled to a protective order allowing him to proceed

 2   anonymously or pseudonymously, as such application is untimely, he cannot

 3   show any harm, and because it would prejudice VPN and the public.

 4         32.    Because Dikian withdrew consent to stipulate to further extend the

 5   case deadlines, including the amended pleadings hearing (current deadline of

 6   July 28, 2023), VPN needs to move by ex parte application to meet that

 7   deadline.

 8         33.    VPN informed Defendant’s counsel that it planned to file its ex-

 9   parte application for leave to file an amended complaint this week, and VPN

10   was prepared to do so today, but will hold off on doing so until the Court rules

11   on this current application.

12
        Dated: July 19, 2023                By:    _________________________
13                                                 Michael Cilento (pro hac vice)

14                                                 Brett E. Lewis
                                                   Michael D. Cilento
15                                                 LEWIS & LIN, LLC

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